      Case 2:15-cv-04184-NJB-JCW Document 1 Filed 09/08/15 Page 1 of 8



                     UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF LOUISIANA

DENISE BROUSSARD, INDIVIDUALLY             CIVIL ACTION
AND ON BEHALF OF HER MINOR
DAUGHTER, N. B.                            NUMBER:

vs.                                        SECTION:

LABORATORY CORPORATION OF                  DIVISION:
AMERICA, LABORATORY CORPORATION
OF AMERICA HOLDINGS D/B/A and
LABCORP CORPORATION


                         COMPLAINT FOR DAMAGES

TO THE HONORABLE UNITED STATES DISTRICT COURT FOR THE EASTERN
DISTRICT OF LOUISIANA AND THE JUDGES THEREOF:

      The complaint of Denise Broussard, a person of the full age

of majority, individually and on behalf of her minor daughter,

N.B., with respect represents that:

                                1.
      Plaintiff, Denise Broussard, individually and on behalf of

her minor    daughter,   N.B., are residents of and domiciled in

Lafourche Parish, Louisiana.

                                    2.

      Defendants, Laboratory Corporation of America, Laboratory

Corporation of America Holdings, d/b/a and LabCorp Corporation

(“LabCorp”), is/are foreign corporations, and are authorized to

do and doing business in Louisiana and within the jurisdiction

of this Honorable Court.
    Case 2:15-cv-04184-NJB-JCW Document 1 Filed 09/08/15 Page 2 of 8



                                    3.

    This Court has jurisdiction over plaintiff’s action against

defendants pursuant to 28 U.S.C. § 1332(a) because the requisite

diversity of citizenship exists and the amount in controversy is

greater than $75,000.00, exclusive of interest and costs.

                                    4.

    On or about August       5, 2013, plaintiff presented to the

medical office of Dr. Natchez Morice in Thibodaux, Louisiana and

within the jurisdiction of this Honorable Court.

                                    5.

    On August 5, 2013, plaintiff gave consent to blood testing,

including HIV testing, and blood specimens were drawn.

                                    6.

    Plaintiff   gave   birth   to       N.B.   on   February   5,   2014   at

Thibodaux Regional Medical Center.

                                    7.

    On June 10, 2014, plaintiff learned she was HIV positive

and on or about July 1, 2014 plaintiff learned that N.B. was

also HIV positive.

                                    8.

    Medical records obtained personally by plaintiff from the

office of Dr. Natchez Morice on August 25, 2014 show that the

HIV test result was “Pending.”




                                    2
     Case 2:15-cv-04184-NJB-JCW Document 1 Filed 09/08/15 Page 3 of 8



                                          9.

      Plaintiff’s      counsel     then        obtained    a    certified        copy   of

plaintiff’s entire chart from Dr. Natchez Morice on or about

September 23, 2014, including the HIV and all other blood test

results, and the HIV test result is shown as “Pending.”

                                          10.

      Counsel for plaintiff then received a certified copy of

Thibodaux Regional Medical Center’s medical records of Denise

Broussard and N.B. on or about May 21, 2015, which were produced

by counsel for Thibodaux Regional Medical Center; also produced

were “Other Facility Records for Denise Broussard” which were

prenatal records provided by Dr. Natchez Morice to the hospital.

None of these records contain a result of HIV testing performed

on plaintiff.

                                          11.

       N.B.    would    not     have   been     infected       with   HIV   virus       and

Denise Broussard’s HIV status would have been treated earlier

and yielded a better result but for negligence of the defendants

in   failing    to     timely    notify        the   proper     parties     of    Denise

Broussard’s HIV status.

                                          12.

      As a result of these incidents, plaintiff, Denise Broussard

was unable to obtain earlier treatment and is at greater risk

for HIV to develop into AIDS; she has suffered severe and keen

                                           3
       Case 2:15-cv-04184-NJB-JCW Document 1 Filed 09/08/15 Page 4 of 8



mental anguish and emotional distress; she has required medical

care and treatment for her injuries/illness and the residuals

thereof; she has incurred medical and related expenses, and she

will continue to incur such expenses in the future; she has

sustained residual and permanent disabilities and impairments,

both physical and mental; she has suffered a loss of enjoyment

of   life   and       nervousness,     depression        and    anxiety;   she    will

require additional medical and/or hospital care in the future;

all for which          plaintiff is entitled to               recover damages from

defendants in all amounts reasonable under the premises.

                                            13.

       As a result of these incidents, N.B. became infected with

the HIV virus due to transmission during her delivery, and/or

was unable to obtain earlier treatment and is at greater risk

from HIV to develop into AIDS; she will suffer severe and keen

mental anguish and emotional distress; she has required medical

care and treatment for her injuries/illness and the residuals

thereof; she has incurred medical and related expenses and she

will continue to incur such expenses in the future; she has and

will     sustain        residual       and        permanent     disabilities         and

impairments, both physical and mental; she has and will continue

to     suffer   a     loss     of    enjoyment      of   life    and    nervousness,

depression      and    anxiety;      she    will    require     additional     medical

and/or    hospital      care    in    the    future;     all    for    which   she    is

                                             4
       Case 2:15-cv-04184-NJB-JCW Document 1 Filed 09/08/15 Page 5 of 8



entitled to recover damages from defendants in all amounts as

are reasonable under the premises.

                                             14.

       The aforesaid incidents and the injuries and damages to

plaintiff and her minor daughter were legally and proximately

caused       by     the   fault,      including       negligence,        of    defendants,

Laboratory         Corporation       of    America,    Laboratory        Corporation       of

America Holdings d/b/a and LabCorp Corporation and its officers,

agents, employees, and those for whom it is legally responsible.



       WHEREFORE, plaintiff, Denise Broussard, individually and on

behalf    of       her    minor     daughter,      N.B.,    prays      that    defendants,

Laboratory         Corporation       of    America,    Laboratory        Corporation       of

America Holdings d/b/a and LabCorp Corporation, be served with a

copy of this Complaint for Damages and that they be duly cited

to appear and answer same and that, after due proceedings are

had,   plaintiff          prays     for   judgment     in       her   favor    and   in   her

daughter’s favor, and against defendants for all amounts as are

reasonable under the premises, such sums with legal interest

thereon      from     date     of    judicial     demand,        including     prejudgment

interest      and     interest      from    the    date     a    medical      review    panel

request was filed with the Louisiana Division of Administration,

for    all        costs   of   these       proceedings,         for    all    general     and

equitable relief, and for trial by jury.

                                              5
    Case 2:15-cv-04184-NJB-JCW Document 1 Filed 09/08/15 Page 6 of 8




Dated:     September 8, 2015



                                 Respectfully submitted,

                                 GAINSBURGH, BENJAMIN, DAVID,
                                 MEUNIER & WARSHAUER, L.L.C.

                               BY:s/ Robert J. David
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                                   Attorneys for Plaintiffs, Denise
                                   Broussard, individually and on
                                   behalf of N.B.




                                   6
    Case 2:15-cv-04184-NJB-JCW Document 1 Filed 09/08/15 Page 7 of 8




PLEASE SERVE:

LABORATORY CORPORATION OF AMERICA
D/B/A and LABCORP CORPORATION
Through its agent for service:
Corporation Service Company
320 Somerulos St.
Baton Rouge, LA 70802-6129

LABORATORY CORPORATION OF AMERICA
At its domicile address:
1209 Orange Street
Wilmington, DE 19801

LABORATORY CORPORATION OF AMERICA
D/B/A and LABCORP CORPORATION
At its principal business office:
358 South Main Street
Burlington, NC 27215

LABORATORY CORPORATION OF AMERICA
D/B/A and LABCORP CORPORATION
Principal business establishment in Louisiana:
3901 Houma Blvd.
Doctors Row
Metairie, LA 70006

LABORATORY CORPORATION OF AMERICA HOLDINGS
Through its agent for service:
Corporation Service Company
320 Somerulos St.
Baton Rouge, LA 70802-6129

LABORATORY CORPORATION OF AMERICA HOLDINGS
At its domicile address:
1209 Orange Street
Wilmington, DE 19801

LABORATORY CORPORATION OF AMERICA HOLDINGS
At its principal business office:
231 Maple Avenue
Burlington, NC 27215

[SERVICE CONTINUES ON THE NEXT PAGE]


                                   7
    Case 2:15-cv-04184-NJB-JCW Document 1 Filed 09/08/15 Page 8 of 8



LABORATORY CORPORATION OF AMERICA HOLDINGS
At its registered office in Louisiana:
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                                   8
